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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE:
JOHN KENNETH PRITCHARD, CaSe DO. 19-12791~BKC~JKO
Debtor(s). / Chapter 7

 

SANTANDER CONSUMER USA, INC.'S MOTION FOR RELIEF FROM STAY AND
CERTIFICATE OF SERVICE OF NOTICE OF HEARING
(Hearing requested after 341 meeting on April 9, 2019)

 

 

Santander Consumer USA, Inc. (hereinafter Santander),
pursuant to 11 U.S.C. 362(d)(1), moves for relief from the stay
as follows:

1. On March 1, 2019, debtor(s) filed for Chapter 7 of the
Bankruptcy Code.

2. On February 24, 2010, debtor executed a contract
pertaining to the purchase of a 2006 TOYOTA TUNDRA SR5 DOUBLE
CAB 2WD V8, VIN 5TBET34126$542765 (Account #XXX2386). A copy of
the contract is attached as Exhibit A. The assignment of the
contract to Santander is located at the bottom of Page 1 of
Exhibit A.

3. On November 10, 2017, debtor executed a Modification
Agreement for the referenced vehicle. A copy of the modification
is attached as Exhibit B.

4. Santander noted its lien on the vehicle’s title.
Proof of title is attached as Exhibit C.

5. Debtor defaulted by failing to remit the monthly
payments due for October 24, 2018 (partial payment in the amount
Of $229.97 due) and November 24, 2018 through February 24, 2019

in the amount of $460.27 each, plus fees in the amount of

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$1,651.60.

5. The payoff balance owed on this loan account is
$8,342.20, as of March 7, 2019, excluding attorney fees and
costs. An affidavit of indebtedness is attached as Exhibit D.

6. Santander Consumer USA, Inc. has been unable to verify
insurance coverage on the vehicle.

7. A proposed order is attached as Exhibit E.

WHEREFORE, Santander requests an order under section
362(d)(1) modifying the stay so that Santander may repossess or
replevy the vehicle, sell the vehicle, and apply the proceeds of
the sale to the debt owed to Santander, and determining that
Federal Rule of Bankruptcy Procedure 4001(a)(3) is not
applicable and Santander may immediately enforce and implement

the stay relief order.

I HEREBY CERTIFY that I am admitted to the bar of the United
States District Court for the Southern District of Florida and I am in
compliance with the additional qualifications to practice in this
court set forth in Local Rule 2090-1(A).

I HEREBY CERTIFY that on February 1, 2019, copies of the
foregoing motion and notice of hearing were transmitted via ECF
to Office of the US Trustee, Chad S. Paiva, Trustee, and Jeffrey
Solomon, Esq., attorney for debtor & mailed to John Kenneth
Pritchard, debtor, 2500 Middle River Dr., Fort Lauderdale, FL
33305.

GERARD M. KOURI, JR., P.A.

Attorney for SANTANDER

5311 King Arthur Avenue, Davie, FL 33331
Tel: (954)862-1731, Fax (954)862-1732

 

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By:
GERARD M. KoURI, JR., EsQ.
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John Prichard

2500 Midd|e River Dr
Fort Lauderdale, FL 33305

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MOD\F[CATION AGREEM ENT (“Agreement“)

The Borrower and/or Co-Borrower, as applicable (hereinafter referred to as "you" or "your“) has requested that
Santander Consumer USA Inc. (“SC") modify certain terms ol` your Note and Security Agreement or Retail lnstallment
Coutract (!he “Contract") currently held by SC. ln consideration of your request, and for other good and valuable

consideration, you and SC agree as follows:

MODIFICAT|ON. SC agrees to modify the terms of your Contract as set forth below. The efi`ective date of the modified
terms shall be the dale SC accepts and signs this Agreement. provided you sign and return this Agreement to SC within 10
days of the date set forth above, and make the Progress Payment for 0verdue Amounts set forth below. Your next
monthly payment is due on the date set forth in the Next Regular Payment Due box below. 'l`he Contract will be modified

as follows:

 

 

 

 

 

 

 

 

 

 

 

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PROGRESS PAYMBNT FOR OVERDUE AMOUNTS. This Agreement is conditioned on you making a payment ol`
S0.00 (“Progress Payment for 0verdue Amounts”). 'I`his payment is not a fee charged by SC to agree to modify your
Contract. lt is a payment that will be applied to your balance in accordance with the Contract.

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John Prichard

You acknowledge and understand that: (a) this Agreement only modifies your contractual obligation as set forth above, and
all Contract terms and provisions not expressly modified by this Agrcement remain unchanged and in full force and effect;
(b) the Progress Payment for Overdue Amounts will first be applied to the accrued and unpaid finance charge, and the
remainder ofthis payment, if any, will be applied to reduce the unpaid amount linanced; and (c) as a result of this
Agreement, even if you make all subsequent monthly payments on time, the unpaid amount financed may not be reduced as
rapidly as it would have under the original payment schedulc, which may result in your paying more finance Charges over
the term of the Contract than originally disclosed By signing this agreement, you arc confirming your ability to

make all future payments on time

INSURANCE. You acknowledge and understand that this Agree:nent does not include an extension of insurance or GAP
coverage, ifany, for which a separate charge was included in the Contract. You assume full responsibility for extending

such coverage

NOT|CE. ll` you have filed bankruptcy, this Agreement is not a reaffirmation of your debt, and you should notify us
immediately

RELEASE. in consideration of SC‘s agreement to modify the terms of your Contract as set forth above, you hereby
release and hold harmless SC, its afi`iliates, and their respective officers, directors, etnployees, agents, successors, and
assigns, from any and all claims, aetions, and causes ofaction arising out ofor in any way connected with the Contract, or
SC`s servicing of the Contract_ from the date of the Conlract through the date of this Agreement.

ARBITRATION. As additional consideration for SC‘s agreement to modify the terms of your Contract as set forth above
and forbear from exercising its remedies under the Contract, you and SC agree that upon written request by either party that
is submitted according to the rules for arbitration, any Claim, except those specified below, shall be resolved by binding
arbitration in accordance with (i) the Federal Arbitration l‘\ct1 (ii) the Rules of the chosen Administrator, and (iii) this

Arbitration Provision.

ta) Clairns Covered. “Claim” means any claim, dispute, or controversy now or hereafter existing between you and SC,
including without limitation, any claims arising out of, in connection with, or relating to the Contract, and any ntodiiication,
extension, application, or inquiry of credit or forbearance of payntcnt; any trade-in of a vehicle; any products, goods and/or
services, including the installation thereof purchased in connection with the Contract; any insurance, service contract,
extended warranty, auto club membership or debt cancellation agreement purchased in connection with the Contract; the
closing, servicing, collecting or enforcing of the Contract; whether the claim or dispute must be arbitrated; the validity of
this Agreement, except as relates to the class action waiver (which term is defined below under "No C|ass Actions/ No
loinder of Parties") -the validity and effect of the class action waiver may be determined only by a court and not by an
arbitrator; any negotiations between you and SC; any claim or dispute based on an allegation of fraud or misrepresentation,
including without limitation, fraud in thc inducement of this or any other agreement; and any claim or dispute based on
state or federal law, or an alleged tort. You and SC also agree to submit to final, binding arbitration any claim or dispute
that you or SC has against all persons and/or entities (i) who are involved with the Contract, (ii) who signed or executed
any document relating to the Contract or any Claim, and (iii) who may be jointly or severally liable to either you or SC

regarding any C|aim.

EXCLUSION FROM ARBITRATION. The following type ofmatters will not be arbitrated:

¢ Any Clairn where all parties collectively (including multiple named parties) seek, in the aggregate $15,000 or less in
total monetary relief, including but not limited to compensatory, statutory and punitive damages, restitution,
disgorgement, and costs and fees (including attorncy`s fees); or any Claims brought in a small claims court. [f you
attempt to assert any C|aim on behalfofa putative class of persons, in violation of other terms in this Agreement, the
value ofsuch CIaim wil|, for purposes ofthis exclusion, be deemed to exceed 515,000. if any party fails to specify the
amount being sought for any relief, or any form or component of reliet”, the amount being sought shall, for purposes of
this exclusion, be deemed to exceed $15,000,

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Participation in a lawsuit or seeking enforcement of this section by a court shall not waive the right to arbitrate

b Commencin Arbitration. 'I`he party initiating arbitration must choose one of the following arbitration Administrators
and follow the rules and procedures that govern disputes established by the chosen Admlnistrator ("Rules"): (l) American
Arbitration Assoeiation, 335 Madison Avenue, New York, NY 10017-4605. or (2) National Arbitration
Forum. P.O. Box 50l9l, Minneapolis, MN 55405, www.arbitration-forum.corn. The Rules and a form of demand for
arbitration are available from each Administrator. SC or you may bring an action, including a summary or expedited

proceeding, to compel arbitration of any Claim, and/or to stay the litigation of any C|aim pending arbitration, in any court
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final judgment

 

tel Place of Arbitration. Arbitration shall be conducted in the county of your residence, unless all parties agree to another
location.

fd) No Class Actions/ No Joinder of Parties. Claims and disputes by or on behalf of other persons not a party to the
Contract will not be arbitrated in any proceeding considering your Claims. You may not serve as a class representative or
participate as a member of a class of claimants or act as a private attorney general with respect to any Claim against any
party entitled to compel arbitration under this Agreement. You and SC agree that all Claims must be resolved on an
individual basis through arbitration and that representative actions, such as class actions, are prohibited (this is referred to

below as the "class action waiver“).

tel governing l_.aw. The Federal Arbitration Act, 9 U.S.C. §§ l et seq., shall govern this arbitration provision. The
arbitrator shall make his or her decision in accordance with applicable substantive law consistent with the Federal

Arbitration Aet and applicable statutes of limitations, and shall be empowered to award any damages or other relief
provided for under applicable law. Judgment upon any arbitration award may be entered in any court havingjurisdiction.

{f) Costs of Arbitration. SC will advance any arbitration filing fee, administrative fee, and hearing fee, which you are
required to pay to pursue a Claim in arbitration, if` you are unable to pay the filing fees and you tell SC in writing that you
are unable to pay such filing fees. The arbitrator will decide who will be ultimately responsible for paying those fees. in no
event will you be required to reimburse SC for any arbitration filing, administrative or hearing fees in an amount greater
than what your court costs would have been it` the Claim had been resolved in a court having jurisdictionl There may be
other expenses during arbitration, such as attorney’s fees, costs ot` travel to the arbitration experts and witnesses. The
applicable arbitration Rules will determine who will pay such amounts lf`there are no such ru|cs, each party will bear their
own expenses. SC will also pay amounts that the arbitrator determines that must be paid to assure the enforceability of this

Arbitration Clause.

tgl §§onfiicts. To the extent that you have signed another agreement(s) with an arbitration provision (“Othcr Arbitration
Provisions") that may apply to Claims, the Arbitration provision of this Agrceinent shall control and supersede the Other

Arbitration Provisions with respect to Claims.

(hi Other important Aereements. This Agreement applies even if the Contract has been paid in full, charged-off by SC, or
discharged in bankruptcy lf any part of this Agreement or the arbitration Rules is determined to be invalid or
unenforceable other than the class action waiver, it shall not impair or affect the enforceability of the other terms of this
Agrcetnent, the arbitration Rules, or the Contract. If` the class action waiver is invalid or unenforceable, the rest of this
Arbitration Provision shall be unenforceable In the event of`a conflict or inconsistency between this Agreement and the
arbitration Rules or the other provisions of the Contract, this Agrcement shall govern.

MISCELLANEOUS. ln the event of any conflict between any provision of this Agreement and any provision of the
Contract. the provisions of this Agreement shall contro|. This Agreetnent shall not be construed to be a satisfaction,
novation or partial or total release of the Contract. This Agreement may be executed in one or more counterparts, each oi`
which when so executed shall be deemed to be an original. This Agreement may be executed by facsimile signatures, and
shall be valid and binding on atty party signing this Agrecment in such fashion. You agree to sign and return this
Agreement to SC at the address and tax number shown above.

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TELEPHONE MON|TOR|NG. You consent to and agree that Santander Consumer USA |nc. may monitor
and record telephone calls made or received by Santander Consumer USA |nc. or its agents regarding the
Contract or your account to assure the quality of our service or for other reasons

CONSENT TO TELEPHONE/C`Ei_t PHONE CONTACTSAND USE OFAUTOMATION TO
CONTACT YOU.

To ensure that consumers inquiries are handled promptly, courteousiy, and accuratelyl some of the phone
calls between you and us or any of our affiliates agents, assigns and service providers may be monitored and
recorded by us and any of our affiliates agentsl assigns and service providersl to enhance service to you. You
consent to this monitoring and recording

You agree that, in order for us to service this contract or to collect any amounts you owe, that Santander
Consumer USA |nc. may from time to time make calls andfor send text messages to you at any telephone
number associated with your accountl including wireless telephone numbers that could result in charges to
you. The manner in which these calls or text messages are made to you may includel but is not limited to, the
use of prerecorded/artit"icial voice messages and/or automatic telephone dialing system You further agree
that in order for us to service this contract or to collect any amounts you owe, that Santander Consumer USA
|nc. may send e-mails to you at any e-mai| address you provide us or use other electronic means of
communication to the extent permitted by law. Consent may be revoked at any time by any reasonable meansl

By signing below, you acknowledge you have read and understood its terms and content, and that you
agree to the herein contained You agree to sign and return this Agreement to SC at the address and tax

and number shown above.

AUTO PAY NOTICE: You confirm that you want to continue your Auto Pay with SC during the term of this
Agrcement. You authorize SC to debit the monthly payment owed to SC, from the bank account listed in your Auto
Pay Enrollment Fo .m,~‘iri'rh amount disclosed under the New Payment Amount during the term of this Agreement.

BuyeW ‘ (Dl,/i! Ui/, 7

Co-Buyer Date

 
 
   

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Vehic|e Information Check

Vehi;e Information:

 

 

 

 

 

 

 

 

 

Vehicle Identification Number: 5TBET34126SS42765 ¥ear/Make: 2006 TOYOTA
Previous Title State: lFLORIDA Registration Expiration Date: 12/22/2020
Title: 96770614 Title Issue Date: 3/19/2010
Title Status: ACi'IVE Title Print Date: 3/24/2010
Odometer Reading/Status: iqzl'_gEzG;C-rUAL Odometer Date: 2/24/2010
Co|or: WHITE Vehic|e Type: AUTO

Net Weight: 4,613 Owner Information: 1 owner
Electronic Title with E|ectronic Lien Salvage:

 

 

Brands:

 

 

Lien Information

 

 

Name
SANTANDER CONSUMER USA

 

Address
PO BOX 961288

FORT WORTH, TX 76161~ 0288

Date

2/24/2010

Receipt Date
3/ 19/ 20 1 0

 

If any of the information on this record needs to be corrected, please contact your ta_><
collector and complete appropriate paperwork to update the record.
If you have lost or misplaced your title and need to apply for a duplicate, click here for the

form and instructions

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SouTH'ERN orsrrucr or FLORID.A

 

-`ln re:r
Case No. 19-12791
John Kenncth Pr`itcliardy
D`ebtor(s) Chapter 7

AFFJDAVIT- 'OF- rNDEB_'rEDNE-ss rn s_UPPOn_~T _orysAN.TANl§ER coNSUME`R usa
lucas Mo'_r_torv'ro_k names FRoM -sTAY

Bet`ore me, the undersigned authoi"ity-, personalty/appeared E_rica Enge_l, wh_o, being duly
sworn, deposes and says:

1.` l`_am E_rica _Engel.- l ainempioyed-a`s a Bankl'upt`cy Speciali'st by Santander--
'Consutner US_A,lnc-.. ("'"Ct.editor")_

_2. This affidavit is based upon Cr`e'diior’s`.. loan:- payment records as of March 7, 2019,
Thcsc records are regularly maintained in the..-'course-ot`- business of Ci"edito"r and it i`s_t_he_ regular
practice ofCt'editor t__o make and maintain these records _These records:.retiect\loan payments
that are'notcd in the records at the'time of receipt by persons whose reg_ular'duties include
recording this information.. l maintain these records for Credit'or and regularly usean'd rely upon
them in the performance ot`_my d_ut_ies.

3. Debtot" maintains a loan, account number-XXXXZZ'BG, with Creditor., Creditor
ho_idsa` security"interest in the following property:

2006 TOYOTA TUNDRA, VIN 5TBET3'412_6`S'S42765

\4. T_h_e_ payments on this loan account due t`or`-partia|-\payincnt t`o'r Ootober_`£rlth,
_20]-8'.`in the amount o't` $229.'97,` Novembei'-Qli"‘, 20 1,8' through Febru"ary 24th, 2019, in the
amount oi"'$46_0.27 cach,`artci_ fees in the_amount,ot` '$'1_,65 ] .60 have not been i'ec'e'ived_by

Creditor.

 

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5. The payoff balance owed on this loan account is $8,342.20, as of March 7, 2019,

excluding attorney fees and costs.

6. Creditor does not have current verifiable proof of collision and comprehensive

insurance covering the vehicle.

7. The contract and proof of title attached to this motion as exhibits are true and

accurate copies of the original documents

8. This concludes my affidavit

2783/tci

Erica Engel V v

SWORN TO AND SUBSCRIBED TO before me under penalty of perjury as being true
and correct based on the p l onal knowledge of Creditor’s books and business records this
l +Q day of MCLV

§ ghi 9 , by Erica Engel, who is personally known to
me

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State of Texas at Large

My Commission Expires: l l - l 2"@1('

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE:
JOHN KENNETH PRITCHARD, CaS€ HO. 19-12791-BKC-JKO
Chapter 7
Debtor(s). /

 

ORDER GRANTING SANTANDER CONSUMER USAr INC.
RELIEF FROM STAY

 

THIS CAUSE came before the Court on xxx, 2019 at xxx a.m.
on Santander Consumer USA, Inc.’s Motion for Relief from Stay
(DE #XX). Upon consideration of the motion and the record, it
is

ORDERED that:

l. The motion is granted and the stay imposed pursuant to
ll U.S.C. Section 362 is modified so as to allow Santander
Consumer USA, Inc. (“Santander”) to repossess or replevy the
2006 TOYOTA TUNDRA SR5 DOUBLE CAB 2WD VB, VIN 5TBET34126$542765

(Account #XXX2386), to sell the vehicle, and to apply the

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proceeds of the sale of the vehicle to the amount owed to
Santander.

2. The stay is modified for the purpose of allowing
Santander to obtain and sell the vehicle and to apply the
proceeds of the sale to the indebtedness owed to Santander or to
proceed in a Court of competent jurisdiction for the sole
purpose of seeking in gem remedies. Santander shall not seek
nor obtain any in personam judgment against the debtor(s).

3. Rule 4001(a)(3) of the Federal Rules of Bankruptcy
Procedure is not applicable and Santander may immediately

enforce and implement this order granting relief from stay.

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Copies furnished via ECF to:

Gerard M. Kouri, Jr., Esq., counsel for Santander
Office of the US Trustee

Chad S. Paiva, Trustee

Jeffrey Solomon, Esq., attorney for debtor

Attorney Kouri is directed to mail a conformed copy of this
Order to John Kenneth Pritchard, debtor, immediately upon
receipt of this Order and shall file a certificate of service
with the Clerk of the Court.

Submitted by:

GERARD M. KOURI, JR., P.A.

5311 King Arthur Ave, Davie, FL 33331
Tel (954) 862-1731; Fax (954) 862-1732
Email: gmkouripaecf@gmail.com

